           Case 1:17-po-00927-MSN Document 25 Filed 06/01/18 Page 1 of 3 PageID# 30
 Prob 12(10/09)                                                                     H* i        L      i
 VAE(rev.5/17)
                                 UNITED STATES DISTRICT COURT
                                                    for the
                                                                                   r           - 1 20tB
                                 EASTERN DISTRICT OF VIRGINIA                       ^                   COURT
                                                                                        ALEXANDRIA. VIRGINIA

 U.S.A. vs. Lavla R. Botwinik                                 Docket No. 1:17P0927

                                           Petition on Probation

        COMES NOW SHERYLLE GANT,PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of Lavla R. Botwinik. who was placed on supervision by the Honorable
Michael S. Nachmanoff, United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the IM
day of Jime, 2017, who fixed the period of supervision at two (2) vears. and imposed the general terms and
conditions heretofore adopted by the Court and also imposed special conditions and terms as follows:



                                                   See Page 2




RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS;
                                               SeeAttachment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.

Returnable Date: TfutA/.                  lO'^eo


ORDER OF COURT                                            I declare under the penalty of perjury that the
                                                          foregoing is true and correct.
Considered and ordered this ^ day of
2018 and ordered filed and made a part of the             Executed on: 05/30/2018
records in the above case.


                   /s/
                                                          4
                                                          Sheiyi
                                                                 0.u Ujt/dc^
                                                          Sherylle Gant*
   Michael 8. Nachmanoff                                  U.S. Probation Officer
   United States Magistrate Judge                        (703)366-2131

Michael S. Nachmanoff                                    Place Manassas. Virginia
United States Magistrate Judge

TO CLERK'S OFFICE
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